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                                                                    IN CLERK'S OFFICE
   UNITED STATES DISTRICT COURT                                 '          court e.d.n.y.
   EASTERN DISTRICT OF NEW YORK                               ★ MAY - 9 2019 ★
                                                 X

   BARTLETT,et al,                                            BROOKLYN OFFICE

                           Plaintiffs,

          -against-
                                                     NOT FOR PUBLICATION
   SOCIETE GENERATE DE BANQUE AU                     MEMORANDUM & ORDER
   LIBAN S.A.L., et al..                             No. 19-CV-00007(CBA)(VMS)
                           Defendants.
                                                X

  AMON,United States District Judge:

         Plaintiffs in this action are American nationals who were injured or whose family members

  were injured or killed by acts ofinternational terrorism allegedly perpetrated by Hezbollah in Iraq

 between 2004 and 2011. (D.E.# 1 ("CompL")^1.) They bring this action pursuant to the Anti-

 Terrorism Act against a number of Lebanese banks who allegedly provided material support to

 Hezbollah in the form of financial banking services. (Id.f 2.) Before this Court is the motion of

 Achraf Safieddine asking to strike two allegations regarding his alleged connection to Hezbollah

 fi-om Plaintiffs' complaint pursuant to Federal Rule of Civil Procedure 12(f). ("See Compl.    348,

 352; D.E.# 80-7.) For the reasons stated below, Safieddine's motion is granted.

         Rule 12(f) provides that,"[t]he court may strike firom a pleading an insufficient defense or

 any redundant, immaterial, impertinent, or scandalous matter." "To prevail in such a motion,[an

 individual] must demonstrate that (1) no evidence in support of the allegations would be

 admissible;(2)that the allegations have no bearing on the issues in the case; and(3)that to permit

 the allegations to stand would result in prejudice to the movant." Roe v. Citv of New York. 151

 F. Supp. 2d 495,510(S.D.N.Y. 2001).

         Safieddine's primary contention is that "even if[he] acted as the Lebanese attorney for a

 handful of entities whose owners Plaintiffs' allege were involved with Hezbollah, the banks could
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  not and would not have any knowledge of[him](nor any role he played) when preparing bank

  accounts and processing financial transactions for those owner's accounts." (D.E. # 80-7 at 14

 (emphasis in original).) Plaintiffs concede as much, noting that "[h]e is ... correct...[that]
 Plaintiffs have not yet made any allegation that any company he is associated with maintained

 accounts with one of the Defendants." (D.E.# 82 at 4.) Indeed, the Complaint does not contain

 any information suggesting that the Defendants knew ofor maintained any relationship with either

 Safieddine or any ofthe companies allegedly associated with him. (See Compl.        869-1119.)

         Plaintiffs' failure to allege any connection between the Defendant banks and Safieddine is

 fatal to their argument that the allegations in the Complaint regarding Safieddine provide

 circumstantial evidence of the banks' "knowledge that particular entities were controlled by

 [Hezbollah's Business Affairs Component]." (D.E. # 82 at 3.) Even if Safieddine was affiliated

 with Hezbollah, that fact alone would not be relevant to the Defendant banks' knowledge unless

 (1) the banks knew Safieddine was associated with Hezbollah and (2) the banks engaged in

 transactions with entities associated with Safieddine. Because the Complaint does not contain

 these allegations, the Court concludes that the allegations concerning Safieddine "have no bearing

 on the issues in this case," Roe. 151 F. Supp. 2d at 510,and would accordingly not be supportable

 by admissible evidence. See Fed. R. of Evid. 402 ("Irrelevant evidence is not admissible."). In

 addition, Safieddine satisfies the requirement that "permit[ting] the allegations to stand would

 result in prejudice to the movant," because the allegations concerning him "have criminal

 overtones." ^Prout v. Vladeck. 326 F.R.D. 407, 409(S.D.N.Y. 2018)(quoting G-1 Holdings.

 Inc. V. Baron & Budd. 238 F. Supp. 2d 521, 555(S.D.N.Y. 2002)).
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         As such, the Court strikes the allegations in Paragraphs 348 and 352 of the Complaint

  without prejudice to Plaintiffs' amending the Complaint to allege additional facts that would

 establish the relevance of the Safieddine allegations to the issues in this case.

         SO ORDERED.


 Dated: May 9,2019
        Brooklyn, New York
                                                          s/Carol Bagley Amon
                                                        Carol Bagley ^mo
                                                        United States DistrM Judge
